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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    :
CITY OF PHILADELPHIA,                               :
                                                    :
                      Plaintiff,                    :
                                                    :
              v.                                    : CIVIL ACTION NO.
                                                    : 2:17-cv-02203-AB
WELLS FARGO & CO, and WELLS FARGO                   :
BANK, N.A.,                                         :
                                                    :
                      Defendants.                   :
                                                    :

    PARTIES’ PROPOSED PHASE ONE DISCOVERY PLAN PURSUANT TO THE
               COURT’S JANUARY 16, 2018 DISCOVERY ORDER
       Pursuant to the Court’s January 16, 2018 Discovery Order (ECF No. 60) (the “Discovery

Order”), plaintiff City of Philadelphia (“City” or “Philadelphia”) and defendants Wells Fargo &

Co. and Wells Fargo Bank, N.A. (“Wells Fargo”) (collectively, “Parties”) respectfully submit

the following proposed Phase One Discovery Plan. The Discovery Order states that “[d]iscovery

will proceed in two phases” and “[p]hase one will address the non-economic injury aspect of the

City’s claim,” and that the “[P]arties will conduct phase one discovery to determine (1) whether

Wells Fargo has violated the FHA, (2) whether the City has suffered a non-economic injury

because of that violation, [] (3) whether the violation was the proximate cause of that non-

economic injury,” and (4) “the res judicata issue.” The Discovery Order further provides that

“[a]fter phase one of discovery, Wells Fargo may file the appropriate dispositive motion on the

claim for non-economic injury and the res judicata defense.” In accordance with the Discovery

Order, the Parties’ Proposed Phase One Discovery Plan is limited to covering and providing a

schedule for the accomplishment of Phase One discovery and Wells Fargo’s dispositive motion

on the record developed in Phase One discovery.
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I.     Rule 26(a)(1) Disclosures

       The Parties will exchange Rule 26(a)(1) disclosures on March 8, 2018.

II.    Discovery Subjects and Depositions

       A. Number of Depositions and Interrogatories:

       The City proposes that, in connection with Phase One discovery, each Party may take up

to 15 depositions (excluding expert depositions and depositions pursuant to Fed. R. Civ. P.

30(b)(6)) of the opposing Party’s officers and employees and no more than 25 depositions total

(including third parties but excluding expert depositions and depositions pursuant to Fed. R. Civ.

P. 30(b)(6)) 1 without leave of the Court. The Parties reserve the right to seek leave for additional

depositions as appropriate.

       The City’s proposed number of depositions is appropriate and proportionate to the needs

of the case. The City has identified no fewer than nine Wells Fargo employees by name or title

below in advance of any discovery exchange in this case. The fact that the City will pursue

depositions of multiple loan officers and underwriters and expects to identify additional

witnesses through Wells Fargo’s document productions in this matter makes the City’s proposal

of 15 party depositions (and additional third-party depositions) conservative. Further, Wells

Fargo, itself, has identified at least nine witnesses and the City anticipates identifying additional

individuals in its Initial Disclosures that are not specifically identified in Wells Fargo’s list.

Wells Fargo’s proposed limitation is, thus, not proportionate to the needs of this case and,

instead, appears calculated to block the City from obtaining important discovery. The City asks


1
  Wells Fargo takes issue with the City’s exclusion of Fed. R. Civ. P. 30(b)(6) designees from the
limit of 15 party witnesses. The City’s exclusion of Rule 30(b)(6) designees anticipates disputes
on whether multiple designees count as one deposition toward the limit. By not considering such
designees in connection with the limit, the City’s proposals prevent such disputes as well as
gamesmanship in designating more individuals than necessary in order to “use up” the opposing
party’s depositions.
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the Court to adopt the City’s proposal.

       Additionally, the City proposes that the Federal Rules of Civil Procedure govern the

number of interrogatories that each party may propound in this case (i.e., limited to 25 total

interrogatories per party in the entire case, and no more than 13 in Phase One) and that before the

close of all fact and expert discovery for all phases of the case, that interrogatories be limited to

factual issues rather than contentions. Interrogatories are the least efficient means of collecting

discovery in litigation. Wells Fargo proposes, not only an expansion of the limit from 25

interrogatories to 35 interrogatories, but also to have that expanded limit apply only to Phase One

of discovery. The City’s proposal to eliminate contention interrogatories during discovery was

calculated to eliminate the most burdensome and least efficient form of interrogatory.

Regardless, the Federal Rules of Civil Procedure should govern as to the number of

interrogatories that may be served because Wells Fargo has not articulated any reason that this

case requires a deviation from those limits.

       Wells Fargo proposes that each party may take 13 depositions in Phase One discovery

(exclusive of the depositions of any expert witnesses identified by the Parties in Phase One).

Wells Fargo does not agree with the City’s confusing proposal to modify the Federal Rules of

Civil Procedure to impose a limitation on the number of depositions that is exclusive of a

deposition taken pursuant to Rule 30(b)(6), 2 and does not agree with the City that allowing 25

depositions in Phase One discovery is appropriate or proportional. The City’s proposal involves

a significant increase in burden beyond that contemplated by the Federal Rules of Civil

Procedure associated with preparing and appearing for 25 depositions—a number of depositions


2
  In response to the statements made by the City in footnote 1, Wells Fargo agrees that if either
party designates more than one person to respond to Rule 30(b)(6) topics, multiple designees
count as one deposition toward the numerical limit. The Rule 30(b)(6) deposition, however,
remains subject to the strictures of the Federal Rules of Civil Procedure.
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well beyond the ten depositions allowed by the Rules. A proper focus on the issues to which

discovery has been limited by the Court does not warrant the number of depositions suggested by

the City. If later reveals a need for more than 13 depositions the City, or Wells Fargo, can seek

appropriate relief from the Court.

       Additionally, Wells Fargo proposes that that each party may propound 35 interrogatories

in Phase One discovery, and that the use of interrogatories not be restricted beyond what is

permissible under the Federal Rules of Civil Procedure. To the extent the City believes, as it

states above, that “interrogatories are the least efficient means of collecting discovery in

litigation,” the City certainly has no obligation to propound interrogatories and may focus its

discovery efforts in whatever manner it desires. But the City’s proposals to restrict the number

of interrogatories that Wells Fargo may propound in Phase One discovery to only 13

interrogatories, and to restrict the subjects of interrogatories, have no support in law.

       The Parties reserve the right to seek leave of the Court for additional depositions as

appropriate. Except as set forth in their respective positions above, the Parties agree that unless

stipulated by the Parties or ordered by the Court, Phase One discovery should proceed in

accordance with the Federal Rules of Civil Procedure.

       B.        Discovery Subjects:

       The City has identified the following subjects for Phase One discovery to the extent

known at this time, which are identified for purposes of illustrating, and in no way limiting, the

subjects identified by this Court as suitable for Phase One:

             •   Defendants’ policies, practices and procedures concerning mortgage lending
                 applicable to Defendants’ operations in the City of Philadelphia;

             •   Defendants’ mortgage lending activities concerning properties in the City of
                 Philadelphia;


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 •   Data on mortgage loans secured by properties in the City of Philadelphia during
     the relevant time period, including information on borrowers, lending terms,
     servicing, and defaults;

 •   Defendants’ marketing practices for its mortgage lending activities in the City of
     Philadelphia;

 •   Defendants’ compensation policies and practices for employees involved in
     mortgage lending (including, without limitation, loan officers, brokers,
     underwriters, branch managers, regional executives and compliance team
     members) in the City of Philadelphia;

 •   Defendants’ fair lending compliance programs, policies and practices;

 •   Defendants’ policies, practices and procedures concerning mortgage loan
     servicing, default servicing, foreclosure and real estate owned (“REO”)
     properties;

 •   Defendants’ (or third Parties’) analyses, reports, studies, or memoranda
     concerning Defendants’ underwriting, originating, purchasing, servicing, pricing,
     or sale of loans;

 •   Communications or reports to or of Defendants’ Board of Directors (or committee
     of the Board of Directors) concerning mortgage loan servicing, default servicing,
     foreclosure and real estate owned (“REO”) properties;

 •   Underlying notes and papers supporting communications or reports to or of
     Defendants’ Board of Directors (or committee of the Board of Directors)
     concerning mortgage loan servicing, default servicing, foreclosure and real estate
     owned (“REO”) properties

 •   Defendants’ policies, practices and procedures concerning refinancing mortgage
     loans in the City of Philadelphia;

 •   Defendants’ policies, practices and procedures concerning the pricing of mortgage
     loan products, including refinance loans, in the City of Philadelphia;

 •   Defendants’ policies, practices and procedures concerning lender credits available
     to buyers including, without limitation, how the value or price of lender credits
     are disclosed or marketed to borrowers and the criteria used to determine whether
     and when to market lender credits to borrowers in the City of Philadelphia;

 •   To the extent not covered by the above, Defendants’ cross-selling policies in the
     Community Bank;

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             •   Defendants’ oversight and control (or lack of oversight and control) of
                 compliance and operational risks and failures of internal controls relevant to the
                 loans in this case;

             •   Defendants’ tracking of delinquencies and defaults of mortgages in the City of
                 Philadelphia;

             •   Analyses of the effects of foreclosures, vacancies, defaults, or higher interest rates
                 have on nearby properties and/or neighborhoods;

             •   Federal, state or local government investigations, inquiries, and or enforcement
                 actions concerning Defendants’ mortgage underwriting, originating, purchasing,
                 servicing, pricing, or sale of mortgage loans;

             •   Defendants’ revenues derived from mortgage lending in the City of Philadelphia;

             •   Analyses, reports, or studies concerning Defendants’ revenues, potential revenues,
                 losses or potential losses arising out of the delinquencies, defaults, foreclosures,
                 short sales, deed-in-lieu, or similar default-related events in mortgage lending and
                 servicing;

             •   Document preservation; and

             •   The City’s non-economic injuries.

       Wells Fargo has identified the following subjects for Phase One discovery:

             •   Whether Wells Fargo originated any residential mortgage loans secured by real
                 property in the City of Philadelphia that violated the Fair Housing Act.

             •   Whether residential mortgage lending by Wells Fargo in the City of Philadelphia
                 actually caused any non-economic injury to the City.

             •   Whether residential mortgage lending by Wells Fargo in the City of Philadelphia
                 proximately caused any non-economic injury to the City.

             •   The Pennsylvania Human Relations Commission (“PHRC”) complaint against
                 Wells Fargo (PHRC Case No. 201000015) and the resolution of the complaint.

       C.        Depositions: The Parties have identified the following deponents for Phase One

discovery:

       The City. At this time, the City expects to conduct the depositions of the following

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persons as part of Phase One discovery, reserving the right to conduct additional depositions that

are relevant to Phase One discovery and proportional to the needs of the case:

               1. Claudia Ross Anderson, former Community Bank Chief Risk Officer;

               2. Patricia Callahan, former Chief Administrative Officer and head of
                  Operational Risk and Compliance;

               3. Matthew Raphaelson, former Community Bank Head of Strategic Planning &
                  Finance;

               4. The Lead Regional President in the Community Bank for the Philadelphia
                  region;

               5. Loan officers responsible for the issuance of loans in the City of Philadelphia;

               6. Employees and executives currently employed within Wells Fargo’s various
                  compliance related departments (e.g., Corporate Risk, Audit, and Internal
                  Investigations) including, but not limited to, employees responsible for
                  training loan officers and underwriters on compliance-related issues;

               7. Employees responsible for performing underwriting functions for loans in the
                  City of Philadelphia;

               8. Employees responsible for Defendants’ data collection and data maintenance;

               9. Any expert(s) designated by Wells Fargo; and

               10. Corporate designee(s) pursuant to Fed. R. Civ. P. 30(b)(6) on topics to be
                   defined.

       Wells Fargo. At this time, Wells Fargo expects to conduct the depositions of the

following persons as part of Phase One discovery, reserving the right to conduct additional

depositions that are relevant to Phase One discovery and proportional to the needs of the case:

                  o The City of Philadelphia pursuant to Fed. R. Civ. P. 30(b)(6).

                  o Yet to be identified representatives of the following City departments
                    referenced in the Complaint:

                          o Commission on Human Relations;

                          o Residential Mortgage Foreclosure Diversion Program.

                  o Other current and former City employees yet to be identified.

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                   o The confidential witnesses referenced in the Complaint.

                   o Yet to be identified current and former employees of the Pennsylvania
                     Human Relations Commission.

                   o Any expert witnesses who may produce a written report on behalf of the
                     City or who may testify for the City.

III.    Pretrial Timetable

        Given the complex nature of this litigation and the scope of the Court’s Discovery Order

directing the first phase of discovery to include subjects concerning the City’s claims for non-

economic injuries, the Parties believe that a somewhat extended discovery timeline is necessary.

As set forth in Section III.A below, the Parties have largely agreed on a Pretrial Timetable for

Phase One discovery and dispositive motion practice. The Parties disagree as to whether or not

two deadlines proposed by Plaintiff are appropriate subjects for inclusion in the Pretrial

Timetable, and each party describes its position in Section III.B below.

        A. The Parties’ Agreed Pretrial Timetable

        The Parties agree on the following Pretrial Timetable for Phase One discovery and

dispositive motion practice:

Event                                                Date

Parties commence Phase One discovery                 March 1, 2018
Parties serve Rule 26(a)(1) disclosures              March 8, 2018
Deadline for Parties to serve requests for September 19, 2018
production, requests for admissions, and
interrogatories
Close of fact discovery concerning the City’s November 2, 2018
non-economic injury claims
Parties to serve opening expert reports              January 10, 2019
Parties to serve rebuttal expert reports             February 14, 2019
Deadline for     Parties   to   conduct    expert February 28, 2019
depositions


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Parties to complete mediation         and    file February 28, 2019
mediation report with the Court
Parties to file any Daubert motion(s) for expert March 8, 2019
opinions concerning the City’s non-economic
injury claims
Parties to file any motions for summary March 14, 2019
judgment
Opposition briefs to any Daubert motion(s)          April 5, 2019
Reply briefs in support of any Daubert April 24, 2019
motion(s)
Opposition briefs to any motions for summary May 6, 2019
judgment
Reply briefs in support of any motions for May 31, 2019
summary judgment
Surreply briefs in opposition to any motions June 20, 2019
for summary judgment

       B. Disputed Pretrial Deadlines

       The City.

       The City has proposed two interim deadlines for discovery in the Pretrial Schedule to

which Wells Fargo will not agree. Specifically, the City has proposed a deadline by which Wells

Fargo would be required to produce data in response to the City’s First Set of Requests for

Production of Documents (“RFPs”) that were served on January 26, 2018, 3 and a deadline by

which both Parties shall certify substantial completion of document productions.

       The City proposed March 23, 2018 as a deadline for the production of data in this matter

based on Wells Fargo’s prior contention to this Court that it could produce loan data for a two

year period within two weeks of the commencement of discovery, ECF No. 54 at 6. The City


3
 Wells Fargo complains that such a deadline imposes an asymmetrical discovery burden on
Wells Fargo. Wells Fargo has not indicated at any time that it will seek data from the City in
connection with Phase One of discovery in this case. If Wells Fargo were to so indicate, the City
would be willing to negotiate a deadline by which the City would be willing to respond with
production.
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believes that its proposal, which provides nearly two months from the date of the City’s RFPs, is

reasonable. Wells Fargo complains that the loan data it previously offered was “limitations-

period loan data,” (emphasis omitted) but, despite the City’s requests during meet-and-confer

teleconferences, Wells Fargo has declined to offer any basis for why the number of years of data

requested presents a significant additional burden beyond generalized assertions such as “every

additional year constitutes additional burden.” 4 Regardless, the City has been and remains

willing to negotiate an appropriate deadline. The issue on which the Parties have reached an

impasse, however, is not whether the City’s proposal of March 23, 2018 provides enough time,

but rather whether any deadline should apply at all. Wells Fargo asserts, without basis or

support, that no deadline should apply. As discussed herein, Wells Fargo’s resistance to such a

deadline is inappropriate.

       The City proposed June 8, 2018 as a deadline for the Parties to certify substantial

completion of document productions. This deadline does not prevent a Party from seeking (1)

additional documents through newly served discovery requests after that date but before the


4
  Today, Wells Fargo filed its second motion to limit the time period for discovery. This new
motion is based on its contentions that (1) a four year discovery period is all that is relevant to
limitations period conduct, and (2) that Wells Fargo’s lending changed in significant and
fundamental ways in the wake of the financial crisis. ECF No. 64. As to the first basis, the Court
has already denied Wells Fargo’s effort to bifurcate discovery on statute of limitations issues.
See ECF No. 57. Wells Fargo asserts that the “Court left open the question of the proper
temporal scope of Phase One discovery….” See infra, citing ECF No. 57 at 13. To the contrary,
the Court provided an outline for how this litigation will proceed in two phases. Neither phase
imposes any limitation on the temporal scope of discovery for the phase, indicating that in
denying Wells Fargo’s prior motion to bifurcate on statute of limitations grounds, the Court
made it clear that the City is entitled to prove its case using discovery from throughout the
relevant time period. Thus, Wells Fargo’s motion to impose a blanket temporal limitation based
on the relevance of discovery from the early years of the relevant time period has already been
decided. As to the second basis, Wells Fargo cannot deprive the City of discovery based on self-
serving and unilateral statements that Wells Fargo’s “lending experienced a seismic shift since
the financial crisis.” In fact, discovery from the full period for Phase One will test precisely that
assertion. In any event, the City will respond to this motion according to the timelines set forth in
the Local Rules.
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September 19, 2018 deadline for serving discovery requests, or (2) an extension to produce

documents after that date for good cause shown. Again, although the City repeatedly stressed its

willingness to negotiate and agree to dates that the two Parties could abide by, Wells Fargo has

refused to agree to any deadline whatsoever.

       Such deadlines are routinely agreed to by parties in complex litigation due to the need to

obtain documents and data, analyze such productions, and proceed with depositions using the

opposing parties’ productions. In light of Wells Fargo’s track record in related litigation, such

deadlines are especially important in this case, and Wells Fargo’s refusal to agree to them is

troubling. Indeed, in a similar case brought by the City of Miami Gardens in the United States

District Court for the Southern District of Florida, see City of Miami Gardens v. Wells Fargo &

Co., No. 1:14-cv-22203 (S.D. Fla.), Wells Fargo did not produce any documents until two days

prior to the end of discovery in the first discovery phase, and even then, Wells Fargo’s

production was deficient, producing a mere 313 documents.         Due to the extreme delay in

production and the impending discovery deadline, the City of Miami Gardens was forced to take

depositions without the benefit of Wells Fargo’s document production.

       The City of Philadelphia seeks to avoid being put in a similar position. On January 26,

2018, the City served its RFPs which contained a specific request containing the data points for

which the City seeks data, and also Requests on a wide range of subjects (as set forth supra,

Section II.B) as limited by the Court’s Discovery Order, ECF No. 60. The City endeavored to

negotiate a date by which Wells Fargo would (1) produce data in response to the specific request

for data, and (2) produce documents in response to the remainder of the RFPs. Wells Fargo has

refused to consider any deadline whatsoever without explanation or counterproposal for ensuring

that the Parties have documents and data with sufficient time to prepare for and complete



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depositions by the fact discovery deadline in the Pretrial Schedule. The City requests that the

Court adopt the City’s proposed deadlines or other dates as the Court sees fit.

       Wells Fargo.

       Plaintiff has proposed that the Pretrial Schedule include deadlines by which Wells Fargo

must produce loan data and the Parties must certify substantial completion of the production of

documents. Wells Fargo disagrees that it is appropriate, necessary, or even logical to include

either of these deadlines in the Pretrial Schedule.

       First, as to the proposed deadline by which Wells Fargo must produce loan data, by the

terms of this document discovery commences on March 1, 2018. Wells Fargo will respond to

properly propounded requests for production of data and documents in accordance with the

provisions of Rule 34 of the Federal Rules of Civil Procedure. There is no reason to alter the

normal application of Rule 34. Moreover, Rule 34 applies equally to plaintiffs as defendants,

and imposing such a deadline without a corresponding deadline for Plaintiff to produce data

would impose an entirely asymmetrical and thus unwarranted discovery burden on Wells Fargo.

In response to statements made by the City above, Wells Fargo disputes that valid discovery has

or could have been served, and clarifies that it previously offered an expedited production of

limitations-period loan data as part of a proposal to limit Phase One discovery to the two year

limitations period, but that offer and proposal was rejected by the City. The Court left open the

question of the proper temporal scope of Phase One discovery, holding only that “the City must,

at least, be given the opportunity to examine a longer range of time than two years” (ECF No. 57

at 13). Because the parties have not been able to reach agreement, Wells Fargo has raised the

issue in its contemporaneously-filed Motion to Set a Phase One Discovery Time Period of Twice

the Applicable Statute of Limitations to Allow Discovery into Relevant Background Events



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[ECF No. 64]. The resolution of the motion will likely guide the scope of the production, and

the timing for production is guided by the Federal Rules of Civil Procedure.

       Second, the proposed deadline to certify substantial completion of the production of

documents directly conflicts with other pretrial deadlines to which the parties have agreed. The

Pretrial Schedule permits service of written discovery requests, including requests for production

of documents, until September 19, 2018. There is no reason to limit the Parties’ use of Rule 34

during the period permitted for fact discovery. The City badly misstates the course of discovery

proceedings in a parallel lawsuit pending in the Southern District of Florida styled City of Miami

Gardens v. Wells Fargo & Co., No. 1:14-22203, where the district court approved of Wells

Fargo’s discovery and unequivocally “adjudged that the Plaintiff’s Motion to Compel Good

Faith and Timely Responses to Plaintiff’s First and Second Sets of Requests for Production and

to Strike Defendants’ Objections is DENIED,” ECF No. 190 at 2 (emphasis in original).

IV.    Alternative Dispute Resolution

       The Parties agree to mediate the case and file a mediation report with the Court on or

before February 28, 2019.

V.     Other Pretrial Issues

       The Parties anticipate jointly moving for:

               (1)    A protective and confidentiality order to permit them to designate

information and documents as confidential, proprietary, or private and to restrict the disclosure

and use of such information and documents to the prosecution or defense of the claims asserted

in this action, while at the same time protecting the public right of access to judicial materials

and ensuring against the mass or routine designation of confidentiality. The terms of the Parties’

proposed protective and confidentiality order will not bind the Court, and the Court may alter its



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terms sua sponte. The Parties anticipate submitting their proposed protective and confidentiality

order to the Court.

               (2)     The Parties have reached agreement on a proposed stipulation concerning

the format and conduct of discovery of Electronically Stored Information (“ESI”). The Parties

shall submit their ESI stipulation to the Court.




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Respectfully submitted,

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Attorneys for Plaintiff City of Philadelphia

Dated: February 19, 2018




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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 19th day of February, 2018, a true and correct copy of

the PARTIES’ PROPOSED PHASE ONE DISCOVERY PLAN PURSUANT TO THE

COURT’S JANUARY 16, 2018 DISCOVERY ORDER was served by via the United States

District Court CM/ECF system on all persons requiring notice.


By:                          /s/Sherrie R. Savett
